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            In the United States Court of Federal Claims
                                     No. 13-913 C
                              (Filed November 22, 2013)
 * * * * * * * * * * * * * * * *            *
 JORDAN POND COMPANY, LLC,                  *
                                            *
                 Plaintiff,                 *
                                            *
            v.                              *
                                            *
 THE UNITED STATES,                         *
                                            *
                 Defendant,                 *
                                            *
 DAWNLAND, LLC,                             *
                                            *
                 Intervenor-Defendant.      *
 * * * * * * * * * * * * * * * * *

                              SCHEDULING ORDER

       Plaintiff Jordan Pond Company, LLC (JPC) filed its pre-award bid protest
complaint on November 20, 2013. In its complaint, JPC challenges a proposed
contract award by the National Park Service of the United States Department of the
Interior (NPS) to Dawnland, LLC (Dawnland). The concession contract at issue in
this suit is for the provision of food, beverage and retail services in Acadia
National Park. In this protest, JPC seeks injunctive and other types of relief related
to the proposed contract award to Dawnland.

      The court held a telephonic status conference with counsel on November 21,
2013. Participating with the undersigned in the teleconference were:

             Kevin R. Garden, counsel for plaintiff;
             Barbara E. Thomas, counsel for defendant;
             Melissa Lackey, Department of the Interior;
             Neil H. O’Donnell, counsel for Dawnland;
             John Bean, law clerk.
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Plaintiff and the government had no objection to Dawnland intervening in this
case.

       The court suggested, and the parties agreed, that this protest could best be
resolved on the merits. In furtherance of this goal, the government has agreed to
defer fully-executed contract award until after the court issues its decision in this
case. The court anticipates issuing a decision in early March, or sooner if possible.
The court adopted the parties’ proposed briefing schedule which is designed to
efficiently resolve the requests for injunctive and other relief stated in plaintiff’s
complaint.

      As a preliminary matter, the parties agreed that a protective order is
needed in this case. The parties stated that the court’s standard protective order is
acceptable to them. The protective order shall issue on this date, to be followed by
applications for admission to the protective order by counsel for plaintiff and
Dawnland.

       The briefing schedule set forth below depends generally on the cooperation
of the parties, and specifically on achieving consensus regarding the contents of the
administrative record, before that record is filed with the court.

      Accordingly, it is hereby ORDERED that:

      (1)    Dawnland, LLC’s motion to intervene, filed November 21, 2013, is
             GRANTED;

      (2)    Defendant shall FILE the Administrative Record in CD-ROM format
             no later than 5:00 p.m. eastern time on December 9, 2013.
             Defendant shall DELIVER two bound, tabbed and indexed paper
             courtesy copies of the Administrative Record to chambers no later
             than 5:00 p.m. eastern time on December 9, 2013;

      (3)    Plaintiff shall FILE its Motion for Judgment on the Administrative
             Record no later than 5:00 p.m. eastern time on January 6, 2014;

      (4)    Defendant and Intervenor-Defendant shall FILE their Cross Motions
             for Judgment on the Administrative Record and Responses to


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      Plaintiff’s Motion for Judgment on the Administrative Record by 5:00
      p.m., eastern time on January 24, 2014;

(5)   Plaintiff shall FILE its Response/Reply to Defendant’s and
      Intervenor-Defendant’s Cross Motions by 5:00 p.m., eastern time on
      February 3, 2014;

(6)   Defendant and Intervenor-Defendant shall FILE their Replies by 5:00
      p.m., eastern time on February 12, 2014;

(7)   Whenever briefing, including exhibits and attachments, causes an
      electronic filing to exceed thirty pages, the party shall DELIVER two
      paper courtesy copies of that filing to chambers by 5:00 p.m. eastern
      time on the next business day after the filing;

(8)   Should the government’s position on the temporary stay of contract
      award change, defendant shall INFORM the court of its request to lift
      or modify the stay at least five days before taking action inconsistent
      with its agreement to the temporary stay described in this order;

(9)   Oral Argument in this case shall be HELD on Friday, February 14,
      2014 at 2:00 p.m. eastern time at the United States Court of Federal
      Claims, National Courts Building, 717 Madison Place, N.W.,
      Washington, DC. The location of the courtroom will be posted on the
      directory in the lobby.



                                      /s/Lynn J. Bush
                                      LYNN J. BUSH
                                      Senior Judge




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